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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

DANIEL FERNANDES
                                   Plaintiff,

           vs.
                                                               Civil Action No. 1:20-cv-11612
MICHAEL SENA, Former Correctional Officer
BROCK MORRIS, Former Correctional Officer
EDWARD BOULEY, Former Lieutenant
JOHN MURPHY, Former Captain
STEVEN J. SOUZA, Superintendent, Bristol County
Sheriff’s Department
THOMAS M. HODGSON, Sheriff, Bristol County
BRISTOL COUNTY SHERIFF’S OFFICE
                            Defendants.



   PLAINTIFF DANIEL FERNANDES’S THIRD MOTION TO COMPEL DISCOVERY

       Pursuant to Rule 37(a)(2) of the Federal Rules of Civil Procedure, Plaintiff Daniel

Fernandes (“Mr. Fernandes”) hereby moves to compel Defendant Steven J. Souza

(“Superintendent Souza”) and Defendant Thomas M. Hodgson (“Sheriff Hodgson” and

collectively, “Defendants”) to produce various documents that Mr. Fernandes requested

Defendants produce in Plaintiff’s Second Request for Production of Documents pursuant to Fed.

R. Civ. P. 34.      In support of his Motion, Mr. Fernandes relies upon the accompanying

memorandum of law and the Declaration of Joanna L. McDonough in Support of Plaintiff Daniel

Fernandes’s Third Motion to Compel, which are both filed herewith.

Mr. Fernandes respectfully requests the following relief:

   1. The Court compel Defendants to produce the following documents:

           a. All documents and communications related to the grievance filed by Brock

                 Morris after he was issued a Notice of Termination on April 3, 2018, including



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     but not limited to all communications with the Union and all documents related to

     the subsequent arbitration.

  b. All documents and communications related to the grievance filed by Michael

     Sena after he was issued a Notice of Termination on March 20, 2018, including

     but not limited to all communications with the Union and all documents related to

     the subsequent arbitration.

  c. All documents and communications related to Michael Johnson’s June 2, 2010

     allegations of staff misconduct.

  d. All documents and communications related to Keith Beaulieu’s November 15,

     2010 allegations of staff misconduct.

  e. All documents and communications related to Donnell Blocker’s November 15,

     2010 allegations of staff misconduct.

  f. All documents and communications related to Daniel Soper’s December 9, 2010

     allegations of staff misconduct.

  g. All documents and communications related to Wesley Nelson’s March 14, 2012

     allegations of staff misconduct.

  h. All documents and communications related to Brian Walsh’s April 3, 2012

     allegations of staff misconduct.

  i. All documents and communications related to Kyungsu Park’s March 26, 2012

     allegations of staff misconduct.

  j. All documents and communications related to BCSO Lieutenant Stephanie

     Helme’s August 28, 2012 allegations of staff misconduct against Jacquelyn

     Silveira.



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             k. All documents and communications related to Kevin Gray’s September 18, 2012

                 allegations of excessive force against BCSO Officers Jonathan Allard and Marc

                 Viveiros.

             l. All documents and communications related to Justin Hamel’s November 27, 2012

                 allegations of staff misconduct against BCSO Officers Scott Lopes and Brendan

                 Manning.

             m. All documents and communications related to Sheila Lynch’s December 2, 2013

                 allegations of staff misconduct against BCSO Lt. Timothy Kelly.

             n. All documents and communications related to Wayne A. Chung’s December 19,

                 2013 allegations of staff misconduct against BCSO Officer Sylvester Santos.

             o. All documents and communications related to Roberto Soler’s May 15, 2019

                 allegations of staff misconduct against BCSO Officer Derek Fague.

             p. Redacted copies of the personnel files of all BCSO employees who the SIU

                 determined used excessive force against a detainee or detainees during the

                 Relevant Time Period, redacting from those personnel files all Social Security

                 Numbers and financial account numbers.1

             q. Redacted copies of the personnel files of the following BCSO employees,

                 redacting from those personnel files all Social Security Numbers and financial

                 account numbers:


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       On August 12, 2022, Defendants produced copies of personnel files for Defendants Edward Bouley, Brock
Morris, John Murphy, Michael Sena, Sheriff Hodgson, and Superintendent Souza. Those personnel files contain
certain sensitive personal-identifying information, including Social Security Numbers and financial account
numbers. On August 22, 2022, Mr. Fernandes requested that Defendants rescind their production of those personnel
files and reproduce redacted copies to protect against disclosure of sensitive personal-identifying information. Mr.
Fernandes’s counsel has since followed-up with Defendants in regards to this issue on August 29, 2022, September
6, 2022, October 13, 2022, October 25, 2022, November 2, 2022, November 7, 2022, November 9, 2022, November
10, 2022, and November 17, 2022. Defendants have still not produced redacted copies of the individual defendants’
personnel files.

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               i. BCSO Officer Silva, who was alleged to have assaulted Keith Beaulieu

              ii. BCSO Lt. Jarrod Gosselin

              iii. BCSO Officer Douglas Macedo

              iv. BCSO Officer Brian Walsh

               v. BCSO Officer Jacquelyn Silveira

              vi. BCSO Officer Jonathan Allard (and Sgt, Jonathan Allard, if different)

             vii. BCSO employee Marco Viveiros

            viii. BCSO Officer Scott Lopes

              ix. BCSO Officer Brendan Manning

               x. BCSO Lt. Timothy Kelly

              xi. BCSO Officer Sylvester Santos

             xii. BCSO Officer Eric Roque

            xiii. BCSO Officer Matthew Boyer

             xiv. Former BCSO Officer Derek Fague

             xv. BCSO Officer Michael Kochanek

             xvi. BCSO Officer Keith Rapoza

            xvii. BCSO Officer Timothy Melo.

           xviii. BCSO Lieutenant Barry Ferreira.


2. Order an award of costs and reasonable attorney’s fees for filing this motion under Fed. R.

   Civ. P. 37(a)(5)(A).

3. An adverse inference prohibiting Defendants from arguing that they are protected by the

   doctrine of qualified immunity for their conduct that gave rise to this proceeding due to

   their continued bad faith conduct throughout the course of discovery.

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                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Mr. Fernandes respectfully requests a hearing on this matter

on the grounds that oral argument will assist the Court in resolution of the issues presented herein.



                                                       Respectfully submitted,

                                                       Plaintiff Daniel Fernandes
                                                       By his attorneys,



                                                       /s/ Joanna L. McDonough
                                                       Caroline S. Donovan, BBO #683274
                                                       Joanna L. McDonough, BBO #699056
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Dated: November 22, 2022




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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served by electronic
means through the CM/ECF filing system, concurrent with the filing of this document on
the 22nd day of November 2022 to:

       Bruce A. Assad
       16 Bedford Street
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       Fall River, MA 02720
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       (508) 673-2004
       Fax: (508) 677-1803


                                                         /s/ Joanna L. McDonough
                                                         Joanna L. McDonough




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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 37.1(b)

       In accordance with Local Rule 37.1(b), I, Joanna L. McDonough, counsel for Plaintiff

Daniel Fernandes, hereby certify that, on November 17, 2022, I requested Defendants provide their

availability for a meet-and-confer at any time on November 17-18, 2022. Defendants did not

respond. As explained in more detail in the accompanying memorandum, counsel for Plaintiff

Daniel Fernandes has repeatedly inquired as to the status of Defendants’ response and document

production to Plaintiff’s Second Request for Production of Documents pursuant to Fed. R. Civ. P.

34, among other outstanding discovery items. Defendants have similarly not responded to these

repeated requests.



       Signed this 22nd day of November 2022.




                                                           /s/ Joanna L. McDonough

                                                           Joanna L. McDonough




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